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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

AVERY L. MOORE                                                              PLAINTIFF

v.                         CASE NO. 4:17-CV-00540 BSM

UNIVERSITY OF ARKANSAS LITTLE ROCK                                        DEFENDANT

                                        ORDER

      Plaintiff Avery Moore’s motion for leave to proceed in forma pauperis [Doc. No. 1]

is denied because, regardless of her financial status, she is more than capable of holding

gainful employment. Complaint ¶ 13, Doc. No. 2 (plaintiff has two undergraduate degrees

and is currently enrolled in a graduate program in the College of Education and Health

Professions).

      IT IS SO ORDERED this 25th day of August 2017.




                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
